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DEPARTMENT OF THE TREASURY
INTERNAL REVENUE SERVICE
WASHINGTON, DC 20224

 

SMALL BUSINESS/SELF-EMPLOYED DIVISION
Date: 03/06/2018

Patricia Hough
1548 Selby Lane #7
Sarasota, FL 34236

Ms. Hough,

As we discussed on the phone, | have closed your case as “Currently Not Collectible”. IRS
may reevaluate your finances at some date in the future or if the Department of Justice or
IRS Counsel feels it is warranted. It is no longer necessary for you to provide the additional
financial information | previously requested. Thank you for your cooperation.

lf you have any questions or need more information, please contact me at the address or
the telephone number listed below:

Internal Revenue Service
3848 W. COLUMBUS DRIVE
MAIL STOP 5237

TAMPA, FL 33607

Phone#: (813) 302-5525
Fax#: (888) 204-9670

Sincerely,
BRYAN MORRIS

REVENUE OFFICER
Employee ID#: 1002837983

Cc: Mr. Udolf

 
